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THE WAGNER FIRM

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

SACRAMENTO DIVISION

MULTIMFAMILY CAPTIVE GROUP, LLC, a

Maryland Corporation, and SAMANTHA
GUMENICK, an individuai,

Plaintiffs,
Vv.
ASSURANCE RISK MANAGERS, INC., a
Colorado Corporation; LISA ISOM, an
individual; and CALIFORNIA APARTMENT
ASSOCIATION, a California Corporation,

Defendants.

Case No. 2:08-CVC-00547-FC-DAD

PLAINTIFFS’ NOTICE OF MOTION AND
MOTION TO COMPEL: (1) COMPLIANCE
WITH FED. R. CIV. P. 26(a); (2) FURTHER
DISCOVERY; AND (3) SANTIONS IN THE
AMOUNT OF $3,600 AGAINST
DEFENDANTS LISA ISOM AND
ASSURANCE RISK MANAGERS, INC.

Date: January 16, 2009

Time: 10:00 a.m.

Courtroom 27

Judge: Magistrate Judge Dale A. Drozd

NOTICE IS HEREBY GIVEN that on Friday January 16, 2009, at 10:00 a.m., or as soon

thereafter as may be heard, in the courtroom of the Honorable Dale A. Drozd, United States

Magistrate Judge, Plaintiffs Samantha Gumenick and Multifamily Captive Group, LLC

(collectively “Plaintiffs”) will and hereby do move the Court for an order compelling defendants

Lisa Isom and Assurance Risk Managers, Inc. (“Defendants”) to: (1) properly complete their Initial

Disclosures required under Fed. R. Civ. P. 26(a) by supplying witness addresses and telephone

numbers within their possession custody and control and by producing for inspection and copying

any insurance agreement under which an insurance business may be liable to satisfy all or part of a

possible judgment against Defendants in the action or to indemnify or reimburse for payments

MOTION TO COMPEL: (1) COMPLIANCE WITH FED. R. CIV. P. 26(a); AND (2) FURTHER DISCOVERY
AGAINST DEFENDANTS LISA ISOM AND ASSURANCE RISK MANAGERS, INC,

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made to satisfy the judgment; (2) respond to certain interrogatories which have been met only with
evasive responses; and (3) produce responsive documents in the native formats in which they were
originally maintained. Plaintiffs have had multiple written and oral communications with
Defendants regarding this dispute and Defendants have either refused to comply with their
obligations or have failed to commit to do so despite having failed to provide any authority or
persuasive rationale for such refusals. Accordingly, Plaintiffs further will and do hereby further
move the Court for an Order imposing monetary sanctions in the amount of $3,600 against
Defendants jointly and severally, as well as any other appropriate and just relief to compensate
Plaintiffs for the time counsel expended pursuing the disputes underlying the instant motion, the
time counsel anticipates expending in preparation of a Joint Statement re: Discovery Dispute and
the time counsel anticipates preparing for hearing of this matter. Pursuant to Local Rule 37-251,
Plaintiffs will contact Defendants to submit a Joint Statement re Discovery Dispute by no later than

three court days prior to the January 16, 2009 hearing date.

Dated: December 22, 2008 THE WAGNER FIRM
By: / s/ Avi N. Wagner
Avi N. Wagner
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MOTION TO COMPEL: (1) COMPLIANCE WITH FED. R. CIV. P. 26(a); AND (2) FURTHER DISCOVERY
AGAINST DEFENDANTS LISA ISOM AND ASSURANCE RISK MANAGERS, INC.

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CERTIFICATE OF SERVICE

The undersigned certifies that the above instrument was filed electronically with the Clerk
of the Court via the CM/ECF system which effects notification to all parties registered and
designated for the CM/ECF system in this action.

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Dated: December 22, 2008 sf Avi agner

Avi N. Wagner

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AGAINST DEFENDANTS LISA ISOM AND ASSURANCE RISK MANAGERS, INC.

